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 8   Gardena, California 90248-4227
     Tel: (310) 768-3068
 9   Fax: (310) 719-1019
10   Attorneys for Defendants AFFINIA GROUP, INC., erroneously sued
     herein as AFFINIA PRODUCTS CORPORATION, BECK/ARNLEY
11   WORLDPARTS CORPORATION, DANA CORPORATION, and
     HERITAGE EQUITY GROUP, INC.
12
13                 IN THE UNITED STATES DISTRICT COURT
14                    EASTERN DISTRICT OF CALIFORNIA
15
16   AUTOMOTIVE IMPORTING               ) NO: 2:05-CV-01577-MCE-PAN
     MANUFACTURING, INC.,               ) (Removed from Sacramento County
17                                      ) Superior Court, Case No.
                                        ) 05AS02872)
18               Plaintiff,             )
                                        ) Case Assigned to Honorable
19   v.                                 ) Morrison C. England, Jr.
                                        )
20   BECK/ARNLEY WORLDPARTS             )
     CORPORATION, a Delaware            ) STIPULATION OF DISMISSAL
21   corporation, DANA CORPORATION, ) AND FOR COURT'S RETENTION
     a Virginia corporation, THE        ) OF JURISDICTION; ORDER
22
     CYPRESS GROUP, a New York          )
     company, AFFINIA PRODUCTS          )
23
     CORPORATION, a Delaware            )
     corporation, also known as AFFINIA ) Action Filed:    06/30/05
24
     or AFFINIA GROUP, INC., and        ) Trial Date:      None
     HERITAGE EQUITY GROUP, INC., )
25
     a corporation, and DOES 1 through  )
     100, inclusive,                    )
                                        )
26                                      )
                 Defendants.            )
27                                      )
                                        )
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     L328868                            1
 1             TO THE HONORABLE MORRISON C. ENGLAND, JR., JUDGE OF
 2   THE DISTRICT COURT:
 3             IT IS HEREBY STIPULATED by and between the parties to this
 4   action through their designated counsel that the above-captioned action be
 5   and hereby is dismissed with prejudice pursuant to FRCP 41(a)(1), and
 6   that the Court retain jurisdiction to enforce the Settlement between the
 7   Parties.
 8             IT IS SO STIPULATED.
 9
     DATED: January _____, 2006              MEEGAN, HANSCHU &
10                                           KASSENBROCK
11
12
                                       By:
13                                           Peter J. Pullen
                                             Attorneys for Plaintiff,
14                                           AUTOMOTIVE IMPORTING
                                             MANUFACTURING, INC.
15
16
17   DATED: January ___, 2006                BOWMAN AND BROOKE LLP
18
19
20                                     By:
21
                                             Robert S. Robinson
                                             Nevin C. Brownfield
22                                           Attorneys for Defendant AFFINIA
                                             GROUP, INC., sued herein as
23                                           AFFINIA PRODUCTS
                                             CORPORATION, DANA
24                                           CORPORATION, BECK/ARNLEY
                                             WORLDPARTS CORPORATION,
25                                           and HERITAGE EQUITY GROUP,
                                             INC.
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     L328868                           2
 1                                         ORDER
 2             Good cause appearing,
 3             IT IS HEREBY ORDERED that
 4             1.   This matter is dismissed with prejudice; and
 5             2.   The Court shall retain jurisdiction to enforce the Settlement
 6   Agreement between the Parties.
 7             IT IS SO ORDERED.
 8
 9
10   DATED: January 25, 2006

11                                       __________________________________
                                         MORRISON C. ENGLAND, JR
12                                       UNITED STATES DISTRICT JUDGE
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